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15
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                No. SA CR 19-061-JVS
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                Plaintiff,                    GOVERNMENT’S OPPOSITION TO
18                                            DEFENDANT’S EX PARTE APPLICATION
                      v.                      FOR AN ORDER EXTENDING DEFENDANT’S
19                                            TEMPORARY RELEASE; DECLARATION OF
     MICHAEL JOHN AVENATTI,                   BRETT A. SAGEL, EXHIBIT A
20
                Defendant.
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23         Plaintiff United States of America, by and through its counsel
24   of record, the Acting United States Attorney for the Central District
25   of California and Assistant United States Attorneys Brett A. Sagel
26   and Alexander C.K. Wyman, hereby files its Opposition to defendant
27   MICHAEL JOHN AVENATTI’s Ex Parte Application for an Order Extending
28   Defendant’s Temporary Release (CR 420).
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1          This Opposition is based upon the attached memorandum of points

2    and authorities, the attached Declaration of Brett A. Sagel and

3    accompanying exhibit, the files and records in this case, and such

4    further evidence and argument as the Court may permit.

5     Dated: March 15, 2021                Respectfully submitted,

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10                                               /s/
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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2          In March 2020, the Court temporarily released defendant MICHAEL

3    JOHN AVENATTI from custody for 90 days due to the COVID-19 pandemic,

4    its effects in the “greater New York City” area, and defendant’s

5    alleged health concerns.      (CR 128.)    The Court has subsequently

6    extended defendant’s release until March 31, 2021.           In doing so, the

7    Court, each time, has expressly reserved the right to revoke

8    defendant’s temporary release based on any “changed circumstances”

9    after notice to the parties.       (CR 128 at 2, ¶ 8; CR 140 at 7, ¶ 25;

10   see also 7/6/2020 RT 10:25-11:8.)        Circumstances have now changed.

11         As of today, March 15, 2021, defendant is eligible to receive a

12   COVID-19 vaccination based on his alleged health conditions.             Indeed,

13   the government alerted defense counsel to that fact by email on March

14   8, 2021, and agreed to stipulate to a modification of defendant’s

15   bail conditions to permit him to leave his third-party custodian’s

16   residence in order to receive the vaccination.          (Sagel Decl. Ex. 1.)

17   The government also provided defense counsel with a link to

18   California’s vaccination website (https://covid19.ca.gov/vaccines/),

19   which lists “five ways [people with high-risk medical conditions] may

20   be able to find an appointment after March 15,” including by visiting

21   a healthcare provider or scheduling an appointment at a local

22   pharmacy.    Moreover, in addition to the two-shot options that have

23   been available for months from Pfizer-BioNTech and Moderna, there are

24   now supplies of the one-shot vaccine from Johnson & Johnson/Janssen.

25         Due in large part to these effective vaccines and their

26   increasing availability to the general population, COVID-19 numbers,

27   while still very concerning, are rapidly trending downward.             See,

28   e.g., Bettina Boxall, “COVID-19 Hospitalizations and Deaths Continue
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1    to Decline,” Los Angeles Times (Mar. 13, 2021), available at

2    https://www.latimes.com/california/story/2021-03-13/los-angeles-

3    county-covid-19-hospitalizations-continue-to-decline.            Indeed, both

4    Los Angeles County and Orange County recently entered the less

5    restrictive “red tier,” and the government understands that based on

6    the current trend the Central District of California will begin

7    holding jury trials as early as the end of May 2021.           The pandemic

8    continues to pose serious risks to the entire population, but the

9    risk landscape is now vastly different thanks to the vaccines that

10   have become available to a subset of that population, such as

11   defendant.

12         These vaccines are also not limited to individuals out of

13   custody.    The Bureau of Prisons (“BOP”) has been vaccinating inmates

14   at all of its many facilities across the country.           As of February 22,

15   2021, all BOP facilities have received some doses of a vaccine.

16   https://www.bop.gov/resources/news/20210223_vaccination_status.jsp.

17   The first priority is to vaccinate staff to prevent transmission in

18   and out of facilities, but inmates are also being vaccinated.             See

19   https://www.bop.gov/resources/news/20210116_covid_vaccine_efforts_com

20   mended.jsp.    As of today, the BOP has administered 79,676 doses of

21   COVID-19 vaccines, and a total of 110 inmates at the Los Angeles

22   Metropolitan Detention Center have been fully vaccinated (i.e.,

23   received both doses of either the Pfizer-BioNTech or Moderna

24   vaccine).    See https://www.bop.gov/coronavirus/.

25         In short, the circumstances giving rise to defendant’s temporary

26   release -- and which justified his continued release -- have changed.

27   He is now eligible to receive any one of three vaccines that would

28   nearly eliminate the health risks that he has relied upon in seeking

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1    release from custody.      What has not changed, and will not change, is

2    that defendant “is a danger to the community.”          (CR 128 at 2.)     The

3    government has also proven by clear and convincing evidence that he

4    violated the conditions of his temporary release by using a computer

5    that offers internet access to draft pleadings in this case and that

6    he intentionally misled the Court on numerous occasions.            (CR 262; CR

7    296.)   As the party seeking an extension of his temporary release

8    under 18 U.S.C. § 3142(i), defendant bears the burden to show that

9    temporary release remains “necessary” under that provision.             See

10   United States v. Dupree, 833 F. Supp. 2d 241, 246 (E.D.N.Y. 2011).

11   That he cannot do.

12         The government alerted defense counsel of defendant’s impending

13   eligibility for a vaccine a week before his eligibility date, which

14   gave him ample time to secure an appointment to receive his first

15   vaccination dose this week.       Any delay at this point in securing

16   protection against the virus justifying his release is entirely of

17   his own creation, and it should not justify his continued release.

18   This Court should deny defendant’s ex parte application, grant the

19   government’s pending motion to revoke defendant’s bond (CR 262)

20   and/or not further extend the temporary release, and remand him into

21   custody.

22         Alternatively, if this Court is inclined to extend defendant’s

23   release based on his current application, there appears no further

24   basis to extend defendant’s release after these additional sixty

25   days.   Defendant himself states that he “expects to be able to begin

26   and complete the vaccination process” during his requested 60-day

27   extension, which will “permit [defendant] adequate time to be fully

28   vaccinated and acquire immunity.”        (App. at 6.)    Barring a change in

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1    the direction of the COVID-19 numbers, defendant will have no basis

2    to continue his release beyond these sixty-days -- and further delay

3    in scheduling his vaccine should not be a basis.

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